Case 2:04-cv-O2617-SH|\/|-dl<v Document 21 Filed 06/27/05 Page 1 of 2 PagelD 33

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MuELLER coPPER TuBE :`~;:'s
PRoDucTs, rNc.,
Plaintiff,
Vs. Case No. 04-2617Ma V

PENNSYLVAN|A MANUFACTURERS’
ASSOC|ATION lNSURANCE COMPANY,

Defendant. JURY DEMANDED

ORDER GRANT|NG DEFENDANT'S MOT|ON FOR ADDITIONAL T|ME TO
RESPOND TO PLA|NT|FF‘S MOT|ON TO COMPEL D|SCOVERY

This matter came on to be heard upon the motion of the Defendant for additional
time through and including July 5, 2005 within which to respond to Piaintiff‘s motion to
compel discovery; upon the L.R. 7.02 Certificate of Consu|tation of counsel confirming
Plaintif'i has no objection to said request, upon good cause shown, and upon the entire
record in the cause from all of which the Court finds that the Defendant's motion is weil
taken and that Defendant should be granted and is hereby granted through and including
July 5, 2005 within which to respond to P|aintifi's motion to compel discovery.

fk.
lT is oRDERED, ADJuocED AND DEcREED this the 635 day of

Y¢M£ , 2005. MM;¢ /( éJJM:

UNlTED STATES D|S"FR'|'€"FJUDGE
M&?¢/§fr¢?‘&

 

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with Flule 58 and/or 79(a) FFiCP on

 

 

June 28, 2005 to the parties listed

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Honorable Samuel Mays
US DISTRICT COURT

